










COURT
OF APPEALS
SECOND DISTRICT OF TEXAS
FORT WORTH
NO. 2-02-411-CV
&nbsp;
IN RE TEXAS DEPARTMENT OF
HEALTH&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
RELATOR
------------
ORIGINAL PROCEEDING
------------
MEMORANDUM
OPINION
(1)
------------
The court has considered relator's
petition for writ of mandamus and is of the opinion that relief should be
denied. Accordingly, relator's petition for writ of mandamus is denied.
Relator shall pay all costs of this
original proceeding, for which let execution issue.
&nbsp;
PER CURIAM
&nbsp;
PANEL B: GARDNER, HOLMAN, and WALKER, JJ.
[DELIVERED JANUARY 23, 2003]

1. See Tex. R. App. P. 47.4.



